Case 3:15-cv-03698- N- BK Document 9 Filed 12/14/15 Page 1 of 1 Page|D 219
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* Attach additional pages as needed

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